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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    AMENDED STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: November 8, 2011
                                           )    TIME: 9:30 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,       )    COURT: Hon. John A. Mendez
                                           )
15                      Defendants.        )
                                           )
16                                         )
                                           )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Arturo
21   Hernandez, attorney for defendant Alejandro Fletes-Lopez; Kenny
22   Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez; Tim
23   Pori, attorney for defendant Orlando Fletes-Lopez; Christopher
24   Haydn-Myer, attorney for defendant Jesus Sanchez-Lopez; Olaf Hedberg,
25   attorney for defendant German Velazquez; Michael Hansen, attorney for
26   defendant Marcela Santamaria; Dina Santos, attorney for defendant
27   Mauricio Portillo; Clemente Jimenez, attorney for defendant
28   Consepcion Carillo; Gilbert Roque, attorney for defendant Guadalupe

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 1   Reyes-Ontiveros; and Hayes Gable, III, attorney for defendant Diana
 2   Hernandez-Gonzalez, that the previously-scheduled status conference
 3   date of November 8, 2011, be vacated and the matter set for status
 4   conference on January 10, 2012, at 9:30 a.m.
 5        This request is made jointly by the government and defense in
 6   order to permit time for continued preparation, including
 7   investigation which is currently in progress, and plea negotiations.
 8   The parties agree that the interests of justice served by granting
 9   this continuance outweigh the best interests of the public and the
10   defendant in a speedy trial.      18 U.S.C. § 3161(h)(7)(A).
11        Further, the parties agree and stipulate the ends of justice
12   served by the granting of such a continuance outweigh the best
13   interests of the public and the defendants in a speedy trial and that
14   time within which the trial of this case must be commenced under the
15   Speedy Trial Act should therefore be excluded under 18 U.S.C.
16   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
17   [complex case] and T4 [reasonable time for defense counsel to
18   prepare], from the date of the parties’ stipulation, November 8,
19   2011, to and including January 10, 2012.
20
21   Dated: November 7, 2011                 /s/ Paul Hemesath
                                             Paul Hemesath
22                                           Assistant United States Attorney
                                             Counsel for Plaintiff
23
     Dated: November 7, 2011                 /s/ Michael E. Hansen
24                                           MICHAEL E. HANSEN
                                             Attorney for Defendant
25                                           MARCELA SANTAMARIA
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     Dated: November 7, 2011                 /s/ Donald Masuda
27                                           DONALD MASUDA
                                             Attorneys for Defendant
28                                           IRMA GONZALEZ

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 1
     Dated: November 7, 2011                 /s/ Christopher Haydn-Myer
 2                                           CHRISTOPHER HAYDN-MYER
                                             Attorney for Defendant
 3                                           JESUS SANCHEZ-LOPEZ
 4   Dated: November 7, 2011                 /s/ Arturo Hernandez
                                             ARTURO HERNANDEZ
 5                                           Attorney for Defendant
                                             ALEJANDRO FLETES-LOPEZ
 6
     Dated: November 7, 2011                 /s/ Olaf Hedberg
 7                                           OLAF HEDBERG
                                             Attorney for Defendant
 8                                           GERMAN GONZALEZ VELAZQUEZ
 9   Dated: November 7, 2011                 /s/ Dina Santos
                                             DINA SANTOS
10                                           Attorney for Defendant
                                             MAURICIO PORTILLO
11
     Dated: November 7, 2011                 /s/ Clemente Jimenez
12                                           CLEMENTE JIMENEZ
                                             Attorney for Defendant
13                                           CONSEPCION CARILLO
14   Dated: November 7, 2011                 /s/ Gilbert Roque
                                             GILBERT ROQUE
15                                           Attorney for Defendant
                                             GUADALUPE REYES-ONTIVEROS
16
     Dated: November 7, 2011                 /s/ Hayes Gable, III
17                                           HAYES GABLE, III
                                             Attorney for Defendant
18                                           DIANA HERNANDEZ-GONZALEZ
19   Dated: November 7, 2011                 /s/ Tim Pori
                                             TIM PORI
20                                           Attorney for Defendant
                                             ORLANDO FLETES-LOPEZ
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 1                                     O R D E R
 2        The Court, having received, read, and considered the stipulation
 3   of the parties, and good cause appearing therefrom, adopts the
 4   stipulation of the parties in its entirety as its order.              Based on
 5   the stipulation of the parties and the recitation of facts contained
 6   therein, the Court finds that it is unreasonable to expect adequate
 7   preparation for pretrial proceedings and trial itself within the time
 8   limits established in 18 U.S.C. section 3161.         In addition, the Court
 9   specifically finds that the failure to grant a continuance in this
10   case would deny defense counsel to this stipulation reasonable time
11   necessary for effective preparation, taking into account the exercise
12   of due diligence.    The Court finds that the ends of justice to be
13   served by granting the requested continuance outweigh the best
14   interests of the public and the defendants in a speedy trial.
15        The Court orders that the time from the date of the parties’
16   stipulation, November 8, 2011, to and including January 10, 2012,
17   shall be excluded from computation of time within which the trial of
18   this case must be commenced under the Speedy Trial Act, pursuant to
19   18 U.S.C. sections 3161(h)(7)(A) and (B)(iv), and Local Codes T2
20   [complex case] and T4 [reasonable time for defense counsel to
21   prepare].   It is further ordered that the November 8, 2011, status
22   conference shall be continued until January 10, 2012, at 9:30 a.m.
23
     Dated: November 8, 2011                 /s/ John A. Mendez
24                                           Hon. John A. Mendez
                                             United States District Judge
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